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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA




                                                    Civil Action No. 1:21-cv-22440-KMW
    DONALD J. TRUMP, the Forty-Fifth President of
    the United States, ELIZABETH ALBERT,
    KIYAN AND BOBBY MICHAEL, JENNIFER
    HORTON, ANDRES CABO, MAGALYS RIOS,
    AND MARIA RODRIGUEZ-FRESNEDA,
    INDIVIDUALLY AND ON BEHALF OF
    THOSE SIMILARLY SITUATED,

                    Plaintiffs,

               v.

    FACEBOOK, INC., and MARK ZUCKERBERG,


                    Defendants.




     MOTION FOR PRELIMINARY INJUNCTION WITH MEMORANDUM OF LAW
        IN SUPPORT OF PLAINTIFF’S MOTION INCORPORATED HEREIN
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                                          INTRODUCTION

          Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Donald J. Trump

   (“Plaintiff”) respectfully moves for a preliminary injunction directing, inter alia, Defendant

   Facebook, Inc. (“Defendant”), and all persons acting in concert with Defendant, to reinstate

   Plaintiff’s access to Defendant’s social media platform(s).

          Coerced by members of the United States Congress, operating under an unconstitutional

   immunity granted by a permissive federal statute, and acting directly with federal officials,

   Defendant is censoring Plaintiff, a former President of the United States. On January 7, 2021,

   Defendant indefinitely banned Plaintiff from its platform, a major avenue of public discourse.

   Defendant’s censorship and prior restraint of Plaintiff’s speech violates the First Amendment to

   the United States Constitution and likewise violates Florida’s newly enacted Stop Social Media

   Censorship Act (“SSMCA”).

          Defendant exercises a degree of power and control over political discourse in this country

   that is immeasurable, historically unprecedented, and profoundly dangerous to open democratic

   debate. Defendant not only banned Plaintiff from its platform, but also extended its prior restraint

   to innumerable Users who post comments about Plaintiff. As Professor Alan M. Dershowitz

   opines: “plaintiff’s right to speak freely has been seriously compromised by Facebook . . .

   Moreover, the rights of his audience to have access to his views have also been curtailed.”

   (Declaration of Alan M. Dershowitz, dated July 1, 2021 (“Dershowitz Decl.”), annexed hereto as

   Exhibit A, ¶ 6.)

          Defendant’s censorship of Plaintiff became state action for First Amendment purposes

   when it resulted from “the State’s exercise of ‘coercive power;’ . . . when the State provided

   ‘significant encouragement, either overt or covert’” in Plaintiff’s censorship, or when Defendant



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   acted as a “willful participant in joint activity” with the state in censoring Plaintiff. United

   Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n. 531 U.S. 288, 296 (2001) (Thomas, J.

   dissent (citations omitted). All three factors—coercion, significant encouragement, and willful

   participation in joint activity—are in operation here. Defendant’s censorship of Plaintiff evidences

   a pattern of content and viewpoint-based prior restraint, carrying the heaviest presumption against

   constitutional validity, and violates Florida’s newly enacted SSMCA.

          Thus, on both constitutional and state law grounds, Plaintiff is entitled to an injunction

   requiring Defendant to reinstate Plaintiff’s access to his account(s) with Defendant.

                                      FACTUAL STATEMENT

          A.      The Donald J. Trump Facebook Account

          Plaintiff established the Donald J. Trump Facebook page in April of 2009. After he

   announced his presidential campaign in June of 2015, Plaintiff used his Facebook page to speak

   directly to the public at large. Plaintiff’s Facebook page became a communication tool of his

   presidency. (Declaration of Samantha Ferrara dated September 17, 2021 (“Ferrara Decl.”), annexed

   hereto as Exhibit B, ¶¶ 14, 21). His page became an important source of news and information about

   government affairs and was a digital town hall in which Plaintiff posted his views and content. Id.

          B.      Defendant’s Censorship And Prior Restraint Of Plaintiff

          Defendant’s censorship of Plaintiff during his presidency involved posts that were labeled

   “misinformation” or were said to violate Defendant’s “violence” or “election integrity” standards.

   On January 7, 2021, Facebook announced that it was suspending Plaintiff’s account(s) indefinitely,

   and that it would remove any posts by Users that included content in the voice of Donald J. Trump.

   (Ferrara Decl. ¶ 8.) As of January 7, 2021, Plaintiff had approximately 35 million Followers.

   (Ferrara Decl. ¶ 22.)

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          On January 21, 2021, Defendant referred its decision to suspend Plaintiff’s account(s) to

   its Oversight Board (Ferrara Decl. ¶ 11). On May 5, 2021, the Oversight Board “ruled” that

   Defendant’s indefinite ban of Plaintiff had been imposed without any basis or standards in place,

   but the Board upheld the indefinite ban. (Ferrara Decl. ¶ 12). On June 4, 2021, Defendant

   announced that Plaintiff’s suspension would extend two years, until January 7, 2023. (Ferrara Decl.

   ¶ 26). Defendant’s decision to censor Plaintiff is a continuing prior restraint of Plaintiff’s First

   Amendment right.

                                             ARGUMENT

                           LEGAL STANDARD APPLICABLE TO
                        MOTIONS FOR A PRELIMINARY INJUNCTION

          To obtain a preliminary injunction, Plaintiff must establish: “(1) a substantial likelihood of

   success on the merits of his claim; (2) an irreparable injury unless the injunction [is] granted; (3)

   that the harm from the threatened injury outweigh[s] the harm the injunction would cause

   [defendant]; and (4) that the injunction would not be adverse to the public interest.” Parsons v.

   Regna, No. 2021 U.S. App. LEXIS 7758 at *10 (11th Cir. 2021). “A substantial likelihood of

   success on the merits requires a showing of only likely or probable, rather than certain, success.”

   Gonzalez v. Governor of Georgia, 978 F.3d 1266, 1271 n.12 (11th Cir. 2020) (emphasis in

   original). As demonstrated below, all four of these requirements are established here.

                                         POINT I
                         PLAINTIFF IS LIKELY TO SUCCEED ON THE
                         MERITS OF HIS FIRST AMENDMENT CLAIM

          The Internet is “the modern public square.” Packingham v. North Carolina, 137 S. Ct.

   1730, 1732 (2017). For billions of people, it is the most important source and medium for news,

   information, culture, and communication. Id. It is, moreover, “perhaps the most powerful

   mechanism available to a private citizen to make his or her voice heard.” Id.

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          Defendant is an Internet communications platform open to billions of people, it exercises

   immense and historically unprecedented power over public discourse, and has the ability to affect

   the content of political speech and electoral outcomes. (See Ferrara Decl. ¶ 5). “The number of

   people the former President reached through social media was staggering.” (Dershowitz Decl. ¶

   9.)

          A.      Legal Standards Applicable To A State Action Finding

          It is well-established that state action can be found under a variety of different tests and on

   the basis of several different factors. As the Supreme Court has held, state action exists, “when

   [the private party’s conduct] results from the State’s exercise of ‘coercive power,’ when the state

   provides ‘significant encouragement, either overt or covert,’ or when a private actor operates as a

   ‘willful participant in joint activity’” with the government. United Brentwood Acad. v. Tenn.

   Secondary Sch. Athletic Ass’n, 531 U.S. 288, 298 (2001) (citations omitted) (emphasis added); see

   Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1277 (11th Cir. 2003).

   Private party conduct also can become state action when the government has passed a statute or

   regulation immunizing that conduct from state law liability and has made plain its “strong

   preference” that the immunized conduct be engaged in. See, e.g., Skinner v. Railway Labor

   Executives’ Ass’n, 489 U.S. 602, 615 (1989).

          A private party’s conduct also becomes state action for First Amendment purposes when

   it results from a “symbiotic relationship” between the private party and the government. See, e.g.,

   Burton v. Wilmington Parking Auth., 365 U.S. 715, 725 (1961); Focus on the Family, 344 F.3d at

   1278; Pasadena Republican Club v. Western Justice Ctr., 985 F.3d 1161, 1167 (9th Cir. 2021);

   Perkins v. Londonderry Basketball Club, 196 F.3d 13, 18 (1st Cir. 1999); Dobyns v. E-Systems,

   Inc., 667 F.2d 1219, 1227 (5th Cir. 1982). Moreover, and fundamental to this case, state action by



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   private parties exists when government deliberately “induces, encourages, or promotes, persons to

   accomplish what it is” constitutionally forbidden to accomplish. Norwood v. Harrison, 413 U.S.

   455, 465 (1973) When government officials violate this principle, state action exists, and the

   private parties who willfully participate may be liable for violating constitutional rights. See, e.g.,

   George v. Edholm, 752 F.3d 1206, 1215 (9th Cir. 2014).

          Satisfaction of any one of these tests “is sufficient to find state action.” Pasadena

   Republican Club v. Western Justice Ctr., 985 F.3d 1161, 1167 (9th Cir. 2021); Barrios-Velazquez

   v. Associcion De Empleados Del Estado Libre Asociado, 84 F.3d 487, 493 (1st Cir. 1999). Courts

   may also view these indicia of governmental involvement in private conduct as cumulative factors,

   each weighing in favor of finding state action. See, e.g., Rawson v. Recovery Innovations, Inc., 975

   F.3d 742, 754-55 (9th Cir. 2020). When all such factors come together in a single case, as they

   have here, Defendant’s censorship of Plaintiff becomes state action for First Amendment purposes.

          The determination whether private party censorship constituted governmental action is

   “necessarily a fact-bound inquiry,” United Brentwood Acad., 531 U.S. at 298, requiring a “totality

   of the circumstances” analysis. Evans v. Valero Energy Corp., No. CV F 07-0130, 2007 U.S. Dist.

   Lexis 21402 at * 9 (E.D. Cal. Mar. 6, 2007); Bass v. Parkwood Hosp., 180 F.3d 234, 242 (5th Cir.

   1999). Each of Defendant’s acts of censorship against Plaintiff, culminating in an indefinite

   suspension of Plaintiff’s account(s), resulted from federal actors inducing Defendant to do what

   the government could not constitutionally do itself. More specifically, Defendant’s censorship of

   Plaintiff resulted from: (a) coercive pressure imposed on Defendant by federal actors, including

   numerous Democrat members of Congress; (b) significant encouragement, both overt and covert,

   by the federal government, including the enactment of a statutory provision, Section 230 of the

   Communications Decency Act of 1996, 47 U.S.C. §230 (“Section 230”), immunizing Defendant’s



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   suppression of constitutionally protected speech; and (c) willful participation in joint activity with

   federal actors, including a federal agency and the White House itself.

          B.      Federal Actors Repeatedly And Coercively Pressured Defendant To
                  Censor And De-platform Plaintiff

          While government officials are permitted to express their, or the government’s, preferences

   about what a private company should or should not do, they cannot exert coercive pressure on

   private parties to censor others’ speech. E.g., Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 66-67

   (1963). Such coercion converts private party conduct into state action. United Brentwood Acad.,

   531 U.S. at 298; Carlin Communications, Inc. v. Mountain States Tel. & Tel. Co., 827 F.2d 1291,

   1295 (9th Cir. 1987) (finding state action in private telephone company’s suspension of account

   due to coercive threats made by state official).

          The test in such cases is whether the “comments of governmental officials can reasonably

   be interpreted as intimating that some form of punishment or adverse regulatory action will follow

   failure to accede to the officials’ request.” E.g., Hammerhead Enters., Inc. v. Brezenoff, 707 F.2d

   33, 39 (2d Cir. 1983). When governmental actors have exerted such coercive pressure, state action

   exists regardless of whether the officials’ threat “was the real motivating force” behind the private

   party’s conduct and even if the private party “would have acted as he did independently.” Carlin

   Communications, 827 F.2d at 1295.

          “[A] public official who tries to shut down an avenue of expression of ideas and opinions

   through ‘actual or threatened imposition of government power or sanction’ is violating the First

   Amendment.” Backpage.com, LLC v. Dart, 807 F.3d 229 (7th Cir. 2015) (citing, American Family

   Association, Inc. v. City & County of San Francisco, 277 F.3d 1114, 1125 (9th Cir. 2002)). Written

   and verbal threats of the kind in Backpage, similar to those in this case, create an irreparable injury

   because they are designed to coerce, not persuade. Id. at 239. Judge Richard Posner, writing for

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   the Court in Backpage, found that the sheriff’s threatening statements constituted prior restraint,

   “‘[t]hreatening penalties for future speech goes by the name of ‘prior restraint,’ and a prior restraint

   is the quintessential first amendment violation.’” Id. at 235 (citing, Fairley v. Andrews, 578 F.3d

   518, 525 (7th Cir. 2009)).

             In Okwedy v. Molinari, 333 F.3d 339, 344 (2d Cir. 2003) (per curiam), the Second Circuit

   made clear that subtle or soft language does not obviate the threat, reasoning, “[w]hat matters is

   the distinction between attempts to convince and attempts to coerce.” Id. at 344. The “intent” of

   the letter [threat] controlled, not its formal language. Id.

             Courts have long held that threats by government officials violate the First Amendment,

   which “unquestionably constitutes irreparable injury” to the victim or recipient of the threat.

   Backpage at 239. The Ninth Circuit described this form of impermissible state action as follows:

   “If the First Amendment means anything, however, the Commission has no right to accompany its

   suggestions with vague or explicit threats of regulatory action should the broadcasters consider

   and reject them. The Commission has no right whatsoever to demand or secure commitments from

   broadcasters to accept its suggestions. It has no right to launch orchestrated campaigns to pressure

   broadcasters to do what they do not wish to do.” Writers Guild of America, West, Inc. v. FCC, 423

   F. Supp. 1064, 1150 (1976) (rev’d on other grounds).

             Using nearly identical analysis, employer speech cases are treated substantially the same.

   Since employers oversee employees, courts “must take into account the economic dependence of

   the employees on their employers, and the necessary tendency of the former, because of that

   relationship, to pick up intended implications of the latter that might be more readily dismissed by

   a more disinterested ear.” NLRB v. Gissel Packing Co., 395 U.S. 575, 617 (1969) (emphasis

   added).



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          Since 2019, Democrat members of the United States Congress, as well as now-President

   Joeseph Biden, have subjected social media companies and their CEOs, including Defendant, to

   increasing pressure to censor speech disfavored by them, and to promote their favored speech, or

   else face catastrophic legislative and/or regulatory consequences. (Ferrara Decl. ¶¶ 30-41, 43, 44.)

   On or about April 10-11, 2019, Speaker of the House Nancy Pelosi warned that a “new era” of

   regulating social media was coming and that Section 230 could be “in jeopardy.” (Ferrara Decl. ¶

   31.) Speaker Pelosi further commented that “the era of self-regulation” in this country for social

   media companies is “probably” over, and that “[w]hen we come to 230, you really get their

   attention . . . it is not out of the question that that could be removed” because “for the privilege of

   230, there has to be a bigger sense of responsibility on it.” Id. (See examples of coercive statements

   by Chairman Schiff, President Biden, Speaker Pelosi, Congressman Raskin, and Sen. Blumenthal)

   (Ferrara Decl. ¶¶ 30, 31, 32-35, 39-41.)

          Coercion exerted by Congress on Defendant, and the other social media companies, has

   become more intense recently. By early January of 2021, the Federal Trade Commission and the

   U.S. Department of Justice were investigating social media companies for antitrust violations and

   had launched an antitrust action against Defendant. (Ferrara Decl. ¶ 45.) Chairman Frank Pallone,

   Jr.’s opening statement from a March 25, 2021, House Energy and Commerce Committee hearing

   revealed that a principal topic of the hearing was the “role” of “Facebook, Google, and Twitter”

   in “spreading disinformation” and extremism. (Ferrara Decl. ¶ 47.) (See additional examples of

   coercive statements at Ferrara Decl. ¶¶ 15, 43.)

          As a result of the coercive pressure created by Congress and the Executive Branch,

   Defendant censored Plaintiff. As such, Plaintiff’s censorship was an unconstitutional deprivation

   of Plaintiff’s free speech, in that the censorship was in response to government coercion.



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          C.      Defendant’s Censorship Of Plaintiff Resulted From
                  Significant Encouragement By The Federal Government

          Private party censorship also becomes governmental action “when the State provides

   ‘significant encouragement, either overt or covert.’” United Brentwood Acad., 531 U.S. at 296

   (citations omitted); see also Focus on the Family 344 F.3d at 1278. The coercive and threatening

   statements made by Congressional and Executive Branch members described above in Point I B,

   applying pressure on, and threatening consequences against Defendant if it failed to censor

   Plaintiff, amounted at a minimum to significant encouragement. Democrat members of Congress,

   as well as President Biden himself, repeatedly encouraged Defendant to censor and restrain

   Plaintiff’s views, or face catastrophic legal and regulatory consequences. (Ferrara Decl. ¶¶ 30-41,

   43, 44, 46, 48.)

          Section 230 (c) itself is a significant encouragement to censor constitutionally protected

   speech. Section 230 (c)(2) immunizes social media companies from liability for any action taken

   in good faith to “restrict” speech they or their Users deem “objectionable,” even if that speech is

   “constitutionally protected.” 47 U.S.C. § 230 (c)(2)(A). The express “intent of Congress in

   enacting Section 230 (c)(2) was to encourage efforts by Internet service providers to eliminate

   [‘objectionable’] material by immunizing them from liability.” Goddard v. Google, Inc., No. C

   08-2738 JF, U.S. Dist. Lexis 101890 at *6 (N.D. Cal. Dec. 17, 2008) (emphasis added); see also,

   e.g., Dawn Nunziato, The Death of the Public Forum in Cyberspace, 20 BERK. TECH. L.J. 1115,

   1129 (2005) (through Section 230 (c)(2), “Congress encouraged private Internet actors to do what

   it could not do itself” (emphasis added)). Every act by Defendant in censoring Plaintiff’s speech

   was significantly encouraged by, and in reliance upon, the immunity granted by Section 230 (c)(2).

          Twice, the Supreme Court has held that federal statutes immunizing private conduct from

   liability turned what would otherwise be private action into state action. See Skinner, 489 U.S. at

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   614-15; Railway Employees’ Dep’t v. Hanson, 351 U.S. 225, 232 (1956). In Hanson, the Court

   found state action in private employers’ closed-shop agreements—contracts between the employer

   and a union requiring all employees to be union members—because a federal statute, superseding

   all conflicting state laws, prevented such agreements from being “made illegal . . . by any

   provisions of the laws of a State.” Id. The statute did not require employers to have such

   agreements; it merely permitted them. Id. Similarly, Section 230 permits (but does not require)

   companies like Defendant to censor speech deemed “objectionable” and preempts all conflicting

   state laws, preventing such censorship from being “made illegal . . . by any provisions of the laws

   of a State.” Id.

           In Skinner, the Court found state action in certain employee urine and breath tests to be

   conducted by private railroad companies after the federal government enacted regulations

   immunizing those companies from liability if they performed such tests. Again, the pertinent

   regulations (called Subpart D) were, like Section 230, “permissive”—they did not compel such

   testing but merely permitted it. Skinner, 489 U.S. at 611. Nevertheless, the Court held that these

   regulations turned the private companies’ conduct into state action, emphasizing that: (1) the

   regulations “removed all legal barriers” to such testing by preempting any conflicting state laws

   (immunizing the railways from liability); and (2) the government had “made plain” a “strong

   preference” for such testing. Id. at 615. Similarly, Section 230 (c)(2) “remove[s] all legal barriers”

   to Defendant’s refusal to carry content it deems to be hate speech, or “misinformation,” or

   dangerous, by preempting conflicting state laws and immunizing social media companies from

   liability for such censorship.

           The federal government has “made plain” a “strong preference” for the censoring of

   COVID-19 “misinformation,” or other content Congressional Democrats deem dangerous, and of



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   Plaintiff himself. On July 17, 2021, President Biden excoriated social media companies for

   carrying so-called COVID-19 “misinformation,” stating that they are “killing people” and

   demanded that they block it. (Ferrara Decl. ¶ 49.)

          Thus, under Hanson and Skinner, the delegation of permissive activity and immunity for

   certain conduct in Section 230 weighs heavily in favor of a finding of state action in the regulation

   of the content of speech on the Internet. Indeed, Section 230(c)(2) violates the “axiomatic”

   constitutional principle set forth by the Supreme Court almost 50 years ago: that the government

   “may not induce, encourage or promote private persons to accomplish what it is constitutionally

   forbidden to accomplish.” Norwood, 413 U.S. at 465. When the government violates this

   “axiomatic” rule, state action exists, and private parties who intentionally assist the government

   may be liable for constitutional violations. George, 752 F.3d at 1215.

          D.      Defendant Has Willfully Participated In Joint Activity With Federal
                  Governmental Actors To Censor Plaintiff’s Constitutionally Protected Speech

          Defendant had censored Plaintiff prior to January 7, 2021, on the putative ground that

   Plaintiff was spreading “misinformation” regarding COVID-19. (Ferrara Decl. ¶ 24, 25.) In

   censoring Plaintiff’s posted content, Defendant was acting as a willful participant in joint activity

   with federal actors, including the Department of Health and Human Services (“HHS”), and the

   White House. On July 15, 2021, White House Press Secretary Jennifer Psaki acknowledged this

   joint activity, stating that White House senior staff were engaging with social media platforms to

   combat the spread of misinformation, specifically on the pandemic, and playing an active role in

   flagging content deemed by the Biden Administration to be problematic. (Ferrara Decl. ¶¶ 16, 51)

   The next day, Psaki stated that the Biden Administration’s goal is to ban individuals who spread

   COVID-19 misinformation from all social media platforms. Id. The Centers for Disease Control

   (“CDC”) and Defendant have openly admitted this collaboration between social media companies

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   and the CDC. (Ferrara Decl. ¶¶ 16) The CDC has publicly stated that it acts with “social media”

   “partners” to “curb the spread of vaccine misinformation.” Id.

          Furthermore, White House administration officials had direct contacts with social media

   platforms, including Facebook. Officials used these contacts to flag impersonating accounts,

   misinformation, and/or posts inciting violence or “hate speech.” Upon information and belief,

   agencies such as the Department of Homeland Security, Department of Health and Human

   Services, and Department of State used a specialized email account to correspond with Facebook

   and other platforms in order to censor the public.

          Not a hair’s breadth separates “direct engagement” between governmental and private

   actors to achieve an objective from “willful participation in joint activity.” By their own

   admissions, the White House and social media companies reached a mutual understanding,

   agreeing to “work together” to “get rid” of disfavored speech. Therefore, state action exists under

   United Brentwood Acad. See also, e.g., Bendiburg v. Dempsey, 909 F.2d 463, 468 (11th Cir. 1990)

   (“[P]rivate defendants can be held liable [as state actors] if they act in concert with [government]

   officials in depriving a plaintiff of constitutional rights.”); cf. Sun v. Girardot, 237 Fed. Appx. 415,

   417 (11th Cir. 2007) (defendants are state actors if they “reached an understanding” with

   government officials “to violate [plaintiff’s] rights”); Rowe v. City of Ft. Lauderdale, 279 F.3d

   1271, 1283 (11th Cir. 2002) (defendants are state actors if there was an “agreement” with

   government officials). Moreover, the federal government reaps, and knowingly accepts,

   substantial benefits from this partnership. These benefits include, without limitation: the “effective

   and inexpensive” communication, as the CDC puts it, of government-approved health information

   to large numbers of people; suppression of information suggesting or showing flaws in federal

   government policy and orthodoxy; boosting the CDC’s reputation as reliable and authoritative in



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   its factual and policy determinations; creating a false impression of unequivocal support in the

   scientific community for governmental directives; and suppression of opinions and information

   that might lead people to take actions contrary to the government’s preferences. See, e.g., Focus

   on the Family, 344 F.3d at 1278. Where coercive governmental pressure, significant governmental

   encouragement, and joint governmental activity are all factors in the conduct of a private party,

   state action must be found; otherwise, every constitutional right could easily be circumvented.

          E.      Defendant’s Acts Violated The First Amendment

          The First Amendment paradigmatically prohibits prior restraints. Near v. Minnesota, 283

   U.S. 697, 713-14 (1931). “Any system of prior restraints of expression comes to this Court bearing

   a heavy presumption against its constitutional validity.” New York Times Co. v. the United States,

   403 U.S. 713, 714 (1971). Because prior restraints are presumptively unconstitutional, the burden

   to show that Plaintiff’s speech is unprotected by the First Amendment rests heavily on Defendant:

   “the burden . . . of proving that the material is unprotected, must rest on the censor.” Southeastern

   Promotions v. Conrad, 420 U.S. 546, 560 (1975); See Neb. Press Ass’n v. Stuart, 427 U.S. 539

   (1976), citing, Pittsburgh Press Co. v. Human Rel. Comm'n, 413 U.S. 376, 396 (1973) (Courts

   have long “condemn[ed] prior restraint as presumptively unconstitutional”).

          Further, prior restraint presents an injury that occurs repetitively until remedied, New York

   Times Co., 403 U.S. at 715 (prior restraint “amounts to a flagrant, indefensible, and continuing

   violation of the First Amendment”). The existence of other venues for Plaintiff to speak does not

   cure the First Amendment violation. Conrad, 420 U.S. at 560. In addition, the First Amendment

   does not permit governmental actors to discriminate against speech on the basis of the viewpoints,

   ideas, or opinions they express. Iancu v. Brunetti, 139 S. Ct. 2294, 2299 (2019) (identifying as a

   “core postulate of free speech law” that the “government may not discriminate against speech



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   based on the ideas or opinions it conveys”). Injunctions cannot facilitate the suppression of speech

   from one side of a political debate, but instead must serve to promote as much speech as possible

   since public debate, rather than partisan government objectives, serves the national interest. See

   Madsen v. Women’s Health Ctr., 512 U.S. 753, 774 (1993). (“As a general matter, we have

   indicated that in public debate our own citizens must tolerate insulting, and even outrageous,

   speech in order to provide adequate breathing space to the freedoms protected by the First

   Amendment.”) (citing Boos v. Barry, 485 U.S. 312, 322 (1988)).

          The First Amendment prohibits establishing a “Ministry of Truth,” blocking speech that

   the government deems false. See United States v. Alvarez, 567 U.S. 709, 723 (2012) (plurality

   opinion) (citing GEORGE ORWELL, NINETEEN EIGHTY-FOUR (1949)). “The mere potential for the

   exercise of that power casts a chill, a chill the First Amendment cannot permit if free speech,

   thought, and discourse are to remain a foundation of our freedom.” Id. Yet, Defendant, working

   jointly with a federal agency and the White House, has converted its platform into a “Ministry of

   Truth,” particularly with respect to COVID-19.

          As a government actor, Defendant’s prior restraint of Plaintiff is a violation of the First

   Amendment, and Plaintiff is therefore entitled to injunctive relief under the federal courts’

   longstanding power to “grant equitable relief for constitutional violations.” Mitchum v. Hurt, 73

   F.3d 30, 35 (3rd Cir. 1995) (Alito, J.).

                                          POINT II
                             SECTION 230, AS APPLIED TO THESE
                          FACTS, VIOLATES THE FIRST AMENDMENT

          Professor Dershowitz notes “[t]he question of social media censorship under Section 230

   is an issue of major legal importance and I believe the allegations of the Complaint which I have




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   reviewed raise serious, substantial legal issues, some of which have not been heretofore litigated.”

   (Dershowitz Decl. ¶ 7.)

          Section 230 is not a valid defense to this action and is unconstitutional as applied to the

   facts of this case. Section 230 only protects Defendant for (1) causes of action in which third-party

   speech is an element and (2) its content moderation for specific reasons outlined in Section 230

   (c)(2). Here, Plaintiff’s constitutional claims against Defendant involve neither third-party speech

   nor the sorts of content specified in Section 230. Further, a binding precedent has determined

   Section 230 offers platforms no protection from suits brought under the Florida Deceptive and

   Unfair Trade Practices Act (“FDUTPA”).

          A.      Neither Section 230(c)(1) Nor Section 230(c)(2) Protects Defendant From Its
                  Discriminatory Treatment Of Plaintiff In Violation Of The First Amendment

          The Supreme Court has confirmed this essential structure: Section 230 (c)(1) relieves

   platforms of liability from third-party speech, and Section 230 (c)(2) relieves platforms for

   removing or moderating content. This precedent recognizes that if Section 230 (c)(1) protects

   removal decisions, it would “swallo[w] the more specific immunity in (c)(2)[.]”. Malwarebytes,

   Inc. v. Enigma Software Grp. USA, LLC, 141 S. Ct. 13, 17 (2020) (referencing and quoting to e-

   ventures Worldwide, LLC v. Google, Inc., No. 2:14–cv–646–FTM–PAM–CM, 2017 WL 2210029,

   *3 (MD Fla., Feb. 8, 2017). “[B]y construing § 230 (c)(1) to protect any decision to edit or remove

   content, courts have curtailed the limits Congress placed on decisions to remove content . . . .” Id.

   (internal citation omitted).

          Allowing Section 230 (c)(1) to swallow Section 230 (c)(2) violates the fundamental canon

   of statutory construction against surplusage. This interpretive rule requires courts to give effect to

   all portions of a statute, particularly provisions that follow one another. Corley v. United States,

   556 U.S. 303, 314 (2009) (“[A] statute should be construed so that effect is given to all its


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   provisions so that no part will be inoperative or superfluous, void or insignificant…”) (quoting

   Hibbs v. Winn, 542 U.S. 88, 101 (2004)). The Supreme Court emphasizes that the canon “is

   strongest when an interpretation would render superfluous another part of the same statutory

   scheme.” Marx v. Gen. Revenue Corp., 568 U.S. 371, 386 (2013).

          To read Section 230 (c)(1) to protect Defendant’s decision to censor Plaintiff would

   eliminate Congress’s express limitations. Thus, Florida federal courts have recognized Section

   230’s specific structure: Section 230 (c)(1) protects against liability from causes of action which

   have as their elements platforms publishing or speaking third party content. Section 230 (c)(2)

   protects content moderation for specified reasons. Neither provision applies to this case.

                  1.     Section 230 (c)(1) Does Not Protect Defendant From Liability For Its
                         Unlawful Deprivation Of First Amendment Rights And Unfair Trade
                         Practices

          Where a platform works or “materially contributes” to create unlawful content or pursue

   unlawful schemes, Section 230 does not apply. Florida Abolitionist v. Backpage.com LLC, No.

   6:17-CV-218-ORL-TBS, 2018 WL 1587477, at *5 (M.D. Fla. March 31, 2018). The Eleventh

   Circuit states, “where a complaint contained allegations illustrating defendant’s involvement in

   creating or developing the alleged” unlawful content, Section 230 immunity is inappropriate.

   Whitney Info. Network, Inc. v. Xcentric Venture, LLC, 199 Fed. Appx. 738, 744 (11th Cir. 2006).

   Here, it is alleged that Defendant worked with the government to violate Plaintiff’s First

   Amendment rights. Defendant’s actions are at issue—not the speech of third-party Users of its

   platform. Such claims have no “immunity under . . . [Section 230].” Alvi Armani Med., Inc. v.

   Hennessey, 629 F. Supp. 2d 1302, 1306–07 (S.D. Fla. 2008).




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                  2.      Section 230 (c)(2) Does Not Protect Facebook From Liability For Its
                          Unlawful Deprivation Of Plaintiff’s First Amendment Rights And
                          Unfair Trade Practices

          As Florida federal courts have ruled, consistent with most courts, Section 230 (c)(2) is not

   a carte blanche to remove content for any reason. Rather, these terms refer to specific types of

   content regulable in 1996, and “otherwise objectionable” is a catch-all term that, under the ejusdem

   generis canon of statutory construction, refers to types of content Congress thought regulable in

   1996. See Nat’l Numismatic Certification, LLC. v. eBay, Inc., No. 6:08-CV-42-ORL-19GJK, 2008

   WL 2704404, at *25 (M.D. Fla. July 8, 2008) (“One may find an array of items objectionable; for

   instance, a sports fan may find the auction of a rival team’s jersey objectionable. However,

   Congress provided guidance on the term ‘objectionable’ by providing a list of seven examples and

   a statement of the policy behind Section 230”). Accordingly, the Court concludes that

   “objectionable” content must, at a minimum, involve or be similar to pornography, graphic

   violence, obscenity, or harassment. Song fi Inc. v. Google, Inc., 108 F. Supp. 3d 876, 883 (N.D.

   Cal. 2015). The six (6) adjectives preceding the phrase “otherwise objectionable” clearly

   demonstrate the policy behind the enactment of Section 230 (c)2 and provide guidance as to what

   Congress intended to be ‘objectionable’ content. Section 230 (c)(2) is not a bar to Plaintiff’s

   lawsuit, which alleges that Defendant removed content in violation of the First Amendment and

   other laws.

          B.      Section 230 Offers No Protection For Defendant’s Own Unlawful Speech

          Defendant is liable for its own speech as well as its own actions. When Defendant works

   as a partner with the government to stifle its Users’ First Amendment rights, Defendant is legally

   accountable for its deeds. Similarly, when Defendant speaks and editorializes, Section 230 offers

   no protection because “[a]n interactive service provider remains liable for its own speech” and for

   “its own unlawful conduct.” Airbnb, Inc. v. City of Boston, 386 F. Supp. 3d 113, 119 (2019)
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   (citations omitted). Defendant’s own statements, tags, warnings, and editorializing on Plaintiff’s

   Facebook page are not entitled to statutory protection under Section 230.

          Defendant’s false statements posted on Plaintiff’s Facebook page are unfair trade and

   deceptive practices, as Users joined Facebook with the expectation that they would be treated fairly

   and without slander. In reasonable reliance upon Defendant’s representations and the expectation

   of fair business dealings, Users built businesses, political careers, entertainment personae, and

   public reputations on Defendant. Defendant then changed the rules, arbitrarily censoring and de-

   platforming people in violation of its own representations. As courts have ruled, Section 230

   provides no protection for unfair and deceptive trade practices.

          C.      Section 230 Is Unconstitutional As Applied

          Where “plaintiffs seek to vindicate their own rights, the challenge is as-applied.”

   Rubenstein v. Fla. Bar, 72 F. Supp. 3d 1298, 1309 (S.D. Fla. 2014) (quoting Jacobs v. The Fla.

   Bar, 50 F.3d 901, 906 (11th Cir. 1995)). “In an as-applied challenge, the plaintiff contends that

   application of the statute in the particular context in which he has acted, or in which he proposes

   to act, would be unconstitutional. Therefore, the constitutional inquiry in an as-applied challenge

   is limited to the plaintiff's particular situation.” Id. (referencing and quoting to Ross v. Duggan,

   402 F.3d 575, 583 (6th Cir. 2004)). “When evaluating an as-applied challenge, the court’s inquiry

   and potential relief focuses only on the particular challenged application. . . .” Id. at 1309.

          Section 230, as applied, violates the fundamental principle the Supreme Court has long

   recognized: government “may not induce, encourage or promote private persons to accomplish

   what it is constitutionally forbidden to accomplish.” Norwood, 413 U.S. at 465. (quoting Lee v.

   Macon County Board of Education, 267 F.Supp. 458, 475-76 (M.D. Ala. 1967)).




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                                   POINT III
                       PLAINTIFF IS LIKELY TO SUCCEED
      ON HIS FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT CLAIM

          The injunctive relief sought by Plaintiff speaks to the purpose of the FDUTPA: protecting

   the public from deceptive practices. Defendant has engaged in the systematic practice of limiting

   the distribution of Plaintiff’s content. Other Users—whose content fits the preferred perspective

   of government actors who have the power to modify Section 230—remain on the platform despite

   promoting content clearly in violation of the standards applied to Plaintiff. These inconsistent

   actions are manifestly deceptive practices.

          A.      Florida Deceptive And Unfair Trade Practices Act Standards

          FDUTPA prohibits deceptive acts or practices. Fla. Stat. § 501.204(1). Deception is “a

   representation, omission, or practice that is likely to mislead the consumer acting reasonably in the

   circumstances, to the consumer’s detriment.” PNR Inc. v. Beacon Prop. Mgmt., Inc., 842 So.2d

   773, 777 (Fla. 2003) (referencing and quoting to Millennium Communications & Fulfillment, Inc.

   v. Office of the Attorney Gen., 761 So.2d 1256, 1263 (Fla. 3d DCA 2000)). FDUTPA must be

   “construed liberally” to “protect the consuming public and legitimate business enterprises . . .”

   from unfair or deceptive business practices. Howard Morris v. ADT Sec. Servs., 2009 U.S. Dist.

   LEXIS 150309 at *24424 (S.D. Fla. Sept. 11, 2009).

          A party aggrieved by a violation of FDUTPA may seek injunctive relief. Importantly,

   Florida courts have held that an aggrieved party need only be one who is “angry or sad on grounds

   of perceived unfair treatment.” Ahearn v. Mayo Clinic, 180 So. 3d 165, 172 (Fla. 1st DCA 2015);

   Fla. Stat §501.211(1). The authority for injunctions under FDUTPA “is broadly worded to

   authorize declaratory and injunctive relief even if those remedies might not benefit the individual

   consumers who filed the suit.” Gastaldi v. Sunvest Cmtys. USA, LLC, 637 F. Supp. 2d 1045,1057



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   (S.D. Fla. 2009) (internal citation omitted). FDUTPA "is designed to protect not only the rights of

   litigants but also the rights of the consuming public at large." Id.

          B.      Defendant Has Inconsistently Applied Its Standards

          Comments related to election integrity, COVID-19, and violence have been the bases cited

   by Defendant for the censoring of Plaintiff’s account(s) and content.

                  1.      Election Integrity

          Plaintiff had content removed or flagged for posts allegedly in violation of Defendant’s

   standards regarding election-related content. (Ferrara Decl. ¶ 91.) Defendant’s policy states “[w]e

   remove content that attempts to interfere with voting, such as incorrect voting information, and we

   remove calls for electoral violence.” (Ferrara Decl. ¶ 89.) While Defendant has applied this

   standard to remove content posted by Plaintiff related to the 2020 election, Defendant’s actions

   show that these standards are inconsistently applied to ensure that disfavored content is removed

   from their platform, and that third parties who voiced comparable content face no disciplinary

   action. For example, all of the speakers referred to in the Ferrara Declaration, (¶¶ 53, 56 -65) have

   Facebook pages, yet none have faced any disciplinary sanctions from Defendant.

          If Defendant were committed to a consistent application of its standards regarding election

   integrity issues, Defendant would have taken similar disciplinary action against the Facebook

   pages belonging to the third parties referenced above in the Ferrara Declaration. Id. Defendant’s

   failure to do so demonstrates these policies are in fact little more than a ruse by which disfavored

   political content is removed.

                  2.      COVID-19

          Plaintiff also had content removed or flagged for alleged violations of Defendant’s

   standards related to COVID-19. (See Ferrara Decl. ¶ 25). As with violence and election integrity,



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   Defendant’s practices demonstrate that its standards are inconsistently and deceptively applied.

   Defendant’s policies state that they prohibit content in contradiction of the standards promulgated

   by the World Health Organization (“WHO”). (Ferrara Decl. ¶ 92.) Defendant also states that its

   policies prohibit content that discourages people from seeking medical advice, guarantees a

   prevention method for COVID-19, or claims that dispute guidance regarding physical distancing

   to reduce transmission of COVID-19. Id. Defendant’s practices reflect inconsistent application of

   each of these specific provisions.

          For example, numerous news organizations have made inconsistent reports about the

   effects of large protests on the spread of COVID-19. Specifically, in relation to the large gatherings

   during the nationwide protests of the summer of 2020, Vox, USA Today, The Business Insider,

   the Washington Post, Forbes, CNN, The Verge, the AP, the Wall Street Journal, ABC News, and

   CNBC have all run articles suggesting these events would not cause an increase in virus infections.

   Incredibly, these same organizations ran articles suggesting that the events of January 6, 2021, at

   the Capitol would cause an increase in virus infections. (Links to each news organization’s

   Facebook page are provided within the Ferrara Declaration in paragraphs 72 through 82.)

          The suggestions contained in the articles – that certain large gatherings are unlikely to

   cause an increase in virus infections – runs contrary to general guidance related to COVID-19.

   Despite the fact that some of these articles are in direct conflict with Defendant’s standards, no

   sanctions have been imposed on these news organizations’ Facebook pages. This outright

   inconsistency is in line with a desire by Defendant to placate government actors who generally

   approved of the protests of the summer of 2020, generally disapproved of the events of January 6,

   2021, and have expressed a great desire and willingness to affect the Defendant’s fortunes through

   manipulation of the protections afforded by Section 230. See Id.



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          However, the true thread behind all of the Defendant’s actions described in this section is

   not the publicly stated standards of content related to effectiveness of treatments, the need to

   consult medical professionals, or the effectiveness of WHO guidance and other virus-related

   restrictions. Rather, the guiding principle is whether the content being discussed is politically

   favored. Defendant is not attempting to apply an objective standard for COVID-19, and thus it is

   deceptively misleading its Users as to the reliability of the content that Users might find on

   Defendant’s platform.

                  3.       Violence

          Shortly before the inauguration of President Biden, Defendant announced that Plaintiff

   would be prevented from uploading additional content to Defendant’s platform due to “ongoing

   concerns about violence.” (Ferrara Decl. ¶ 6.) Defendant’s toleration of violence in content

   provided by other, politically favored speakers, demonstrates that Defendant did not neutrally

   apply an objective standard in making this decision, but simply out of a desire to silence disfavored

   speakers.

          Defendant claims to prohibit content when it incites or facilitates serious violence. (Ferrara

   Decl. ¶ 93.) However, Defendant has taken no disciplinary action against any of the speakers

   referenced in the Ferrara Declaration, each of whom maintains their own Facebook pages, and

   whose statements clearly run afoul of Defendant standards. (See Ferrara Decl. ¶ 8, 19, 84.)

          If Defendant’s standards as applied to Plaintiff were objectively applied to all content

   providers, none of the previously referenced speakers in the Ferrara Declaration would be allowed

   to upload content to Defendant’s platform. (See Ferrara Decl. ¶¶ 84, 90.) The failure of Defendant

   to take any action against said speakers listed is no accident. This disparate treatment is reflective

   of Defendant’s desire to remove politically disfavored content. As discussed above in Point I B,

   the determination of what is or is not “politically disfavored” is measured by the voluminous calls
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   from government actors for Defendant to take censorship action on the disfavored content and

   views of Plaintiff or face the potential loss of Section 230 protections.

          C.      Facebook’s Inconsistent Application Of Its Standards Demonstrates Plaintiff’s
                  Entitlement To Preliminary Injunctive Relief

          By publishing its standards on its website, Defendant is promising its Users that it will live

   up to them. Defendant has failed to do so, thus deceiving its Users into thinking that Defendant

   applies these standards with total viewpoint neutrality.

          The failure of Defendant to state that it modifies its content moderation standards to placate

   government actors is a material misrepresentation. Users are led to believe that parties who have

   been suspended, tagged, flagged, shadow banned, or have otherwise run afoul of Defendant’s

   standards, are less trustworthy than the content they do find across the platform. Conversely, Users

   think that the content they see on the platform is consistent with an objective application of

   Defendant’s standards.

          Plaintiff is ideally suited to bring this action for injunctive relief. Defendant cannot

   possibly reconcile the punitive censorship of Plaintiff with the favored treatment of other speakers

   who violated the same norms. Clear proof of the disparate treatment given to certain “high-profile”

   Users who were exempt from some or all of Facebook’s standards can be found in Facebook’s

   previously undisclosed whitelisting program known as “XCheck.” (Ferrara Decl. ¶ 90.)

          Defendant has systematically removed Plaintiff’s politically disfavored content on

   pretextual grounds. Plaintiff has been aggrieved by these actions, and respectfully submits that he

   has established a substantial likelihood of success on the merits of his FDUTPA claim.

                                  POINT IV
      PLAINTIFF IS LIKELY TO SUCCEED ON THE MERITS OF HIS SSMCA CLAIM

          In Count IV of the Amended Complaint, Plaintiff seeks relief under the provisions of the

   SSMCA. While housed within FDUTPA, the elements for a SSMCA claim have a subtle but
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   significant variation from the elements of the injunction claim in Count III. Specifically, Count III

   alleges that the discriminatory practices of Defendant were based on a policy of removing

   politically disfavored content and that this policy was deceptively omitted from its statements to

   Users. Plaintiff’s allegations in Count IV, however, rest on the very straightforward premise that—

   regardless of any deceptive practice—Defendant inconsistently applied its own standards.

           Under the provisions of Florida Statutes § 501.2041(2)(b), the inconsistent application of

   censorship, de-platforming, and shadow banning standards—regardless of any deception—is a

   violation of FDUTPA. Subsection (2)(b) of the SSMCA states that:

                    A social media platform must apply censorship, deplatforming, and
                    shadow banning standards in a consistent manner among its users
                    on the platform. 1

   Plaintiff asserts that the allegations raised in the Amended Complaint and detailed above

   demonstrate that Defendant has failed to enforce its standards for censoring, de-platforming, and

   shadow banning content in a consistent manner. Defendant has admitted said inconsistent

   treatment with its confirmation of the existence of the XCheck program. (Ferrara Decl.¶ 90.)

           The provisions of Subsection (2)(b) hold that a social media company’s inconsistent

   application of standards is a violation of Florida Statutes § 501.204. As the SSMCA is housed

   within FDUTPA, the corpus of FDUTPA law detailed above in Point III A, is equally applicable

   to the SSMCA. The same principles hold that FDUTPA must be “construed liberally” to “protect

   the consuming public and legitimate business enterprises” from unfair or deceptive business

   practices. Howard Morris 2009 U.S. Dist. LEXIS 150309 at *24424 (S.D. Fla. Sep 11, 2009).

           The law was challenged in an action brought in the Northern District of Florida by a

   technology industry trade association. In a decision dated June 30, 2021, Judge Hinkle of the


   1
     Censorship, de-platforming, and shadow banning are defined at Florida Statutes § 501.2041(1)(b), (c), and (f),
   respectively.

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   Northern District enjoined several state agencies from enforcing provisions of the SSMCA stating

   it does not address private litigation. Netchoice, LLC, v. Moody 2021 U.S. Dist. Lexis 121951

   (N.D. Fla. June 30, 2021).

          While Judge Hinkle held that Section 230 preempted the SSMCA, he relied on a Second

   Circuit opinion that, since the entry of his order, was vacated and replaced. Relying on Domen v.

   Vimeo, 991 F.3d 66 (2d. Cir. March 11, 2021) (amended and superseded on rehearing by Domen

   v. Vimeo, Inc., 2021 WL 3072778 (2d Cir. July 21, 2021)), which was entered March 11, 2021,

   Judge Hinkle stated that Section 230 preempts claims based on the inconsistency of content

   removal. Netchoice at 20. However, the March 2021 Vimeo opinion was vacated and replaced with

   a decision issued on July 21, 2021. The revised opinion states that the “imperfect exercise of

   content-policing discretion does not, without more, suggest that enforcement of content policies

   was not done in good faith;” the necessary implication is that Section 230 immunities disappear

   when a plaintiff can establish bad faith. Domen, 2021 WL 3072778 at *17. Further, the Second

   Circuit stated, “[o]ur decision should not be read to confer immunity on providers acting in

   circumstances far afield from the facts of this case. Courts have rejected Section 230 defenses

   against claims for false advertising, deceptive trade practices, and tortious interference.” Id. at 18.

   Section 230 remains a fact-based defense, and the Defendant, in this case, is not entitled to its

   protections.

                                         POINT V
                           PLAINTIFF WILL SUFFER IRREPARABLE
                          HARM IF AN INJUNCTION IS NOT GRANTED

          Defendant is an essential platform for communicating in today’s global environment. With

   the volume of content on its platform, combined with the power of its search functions, Defendant

   is a premier destination for Users seeking information.          As important as Defendant is for



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   commercial branding, it is no less important for those engaged in political speech. For candidates,

   it offers outstanding outreach to potential voters. “Democracy demands a level playing field . . .

   The precise effect of continuing censorship of Plaintiff is unpredictable but it is likely to have a

   profound impact, which will cause the plaintiff and the electorate irreparable harm.” (Dershowitz

   Decl. ¶¶ 10, 12.)

          The continuing irreparable harm to Plaintiff, absent an injunction, is indisputable as a

   matter of law. Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms,

   for even minimal periods of time, unquestionably constitutes irreparable injury.”) Here, the

   wisdom expressed in New York Times Co., supra, comes to bear as “[e]very moment’s continuance

   of the injunctions against [those censored] amounts to a flagrant, indefensible, and continuing

   violation of the First Amendment.” 403 U.S. at 715 (Black, J., concurring with aff’ United States

   v. Washington Post Co., 446 F.2d 1327 (D.C. Cir. 1971) and rev’ United States v. New York Times

   Co., 444 F.2d 544 (2d Cir. 1971)).

          Defendant has placed “its finger on the scale” by eliminating Plaintiff’s views and content

   from voters, and “led to the demise of the Trump Campaign merchandising and fundraising

   program.” (Declaration of Corey Lewandowski dated August 16, 2021 (“Lewandowski Decl.)

   annexed hereto as Exhibit C, ¶ 27, and Declaration of Christl Pitre Mahfouz dated August 13, 2021

   (“Mahfouz Decl.”), annexed hereto as Exhibit D, ¶ 25.) The First Amendment rights of Plaintiff’s

   millions of Facebook Users—to receive his messages and to comment to one another thereon—

   will be irreparably injured as well. At the same time, by de-platforming the presumptive head and

   most popular member of the Republican Party, cutting him off from the most effective and direct

   forms of communication with potential voters, Defendant is threatening irreparable damage to the

   Republican Party’s prospects in the 2022 and 2024 elections.



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           Similarly, a preliminary injunction on Plaintiff’s FDUTPA and SSMCA claims will benefit

   more parties than just Plaintiff. Billions of Users rely on Defendant’s terms of service regarding

   the criteria by which content is permitted to remain on Defendant’s platform.

                                     POINT VI
                     THE BALANCE OF HARDSHIPS FAVORS PLAINTIFF

           While Defendant faces no harm from the reinstatement of Plaintiff’s access to its platform,

   Plaintiff faces irreparable injury; thus, the balance of hardships manifestly favors a preliminary

   injunction. “Unless preliminary relief if granted, it is likely that the censorship imposed by

   Facebook and Twitter will impact the 2022 and 2024 elections.” (Dershowitz Decl. ¶ 11). Plaintiff

   faces loss of his donor and merchandising platforms, and ability to communicate his views,

   content, and endorsements of local candidates. (Lewandowski Decl. ¶¶ 14, 15, 17 and Mahfouz

   Decl. ¶ 16) Defendant’s First Amendment freedoms will not suffer if this Court orders it to

   reinstate Plaintiff’s access to its platform(s).      While Defendant undoubtedly has the First

   Amendment right to express its own opinion and carry messages it favors, the First Amendment

   does not protect Defendant when it functions as a censorship arm of federal lawmakers and

   officials.

                                        POINT VII
                                AN INJUNCTION WOULD NOT
                            BE ADVERSE TO THE PUBLIC INTEREST

           Defendant cannot argue that access to its platform is not an issue of public interest. The

   terms of access to Defendant require clear and transparent disclosure to Defendant’s Users, who

   have the right to know if the terms of service they have agreed to are, in fact, the terms applied by

   Defendant to leave up, or censor, content. Facebook’s elimination of Plaintiff’s views and content

   creates a “significant, and negative, impact on political debate” and “constituents a prior restraint

   in the vitality of the ‘marketplace of ideas’ in American politics.” (Lewandowski Decl. ¶¶ 23, 27.)

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           Moreover, “[a] preliminary injunction is in the public’s interest. Censoring the 45th

   President of the United States, the leader of the Republican Party, will have an adverse and

   unknowable effect on the 2022 and 2024 elections.” (Dershowitz Decl. ¶ 8).

           The country does not benefit from attempts to suppress political speech. Still less does it

   benefit from attempts to muzzle political speakers. Even those most passionately antagonistic to

   Plaintiff’s views are not well-served by attempts to silence him. Such, at least, has always been

   the fundamental principle of the First Amendment. “That Amendment rests on the assumption that

   the widest possible dissemination of information from diverse and antagonistic sources is essential

   to the welfare of the public. . . .” Associated Press v. United States, 326 U.S. 1, 20 (1945). Although

   this principle is under assault today throughout the United States, it can still be saved by—and

   perhaps only by—the Nation’s courts. Accordingly, granting Plaintiff’s request for a preliminary

   injunction will manifestly be in the public interest.

                                             CONCLUSION

           For the foregoing reasons, Plaintiff respectfully requests that the Court grant the injunctive

   relief prayed for above.

                                         REQUEST FOR RELIEF

           Plaintiff respectfully requests the Court to issue a preliminary injunction at the earliest

   possible date and enter the following Order:

   A.      Enjoining and restraining Defendant and its officers, agents, servants, employees,

   attorneys, and other persons who are in active concert or participation with anyone falling under

   the direct or general control or supervision of Defendant from enforcing the suspension of

   Plaintiff’s access to its platform.




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   B.      Directing Defendant immediately, and no later than forty-eight (48) hours following the

   issuance of the Court’s Order, to reinstate Plaintiff’s access to its platform and lift all temporary

   or permanent bans on Plaintiff’s Facebook account(s).

   C.      Enjoining and declaring that Section 230 (c) of the Communications Decency Act of 1996

   is unconstitutional as applied to the facts of this case, as it violates Plaintiff’s right to free speech

   under the First Amendment.

   D.      Granting such other and further relief as the Court may deem just, proper, and equitable.




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                                    CERTIFICATE OF SERVICE
          I hereby certify that on October 7, 2021, a true and correct copy of the foregoing was

   electronically filed with the Clerk of the Court using CM/ECF and electronically provided to all

   Counsel of Record registered for service of same.



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